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                                      UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NORTH DAKOTA


             In Re:                                             Case No.: 17-30112

             Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                     Debtor.


                DEBTOR’S MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE
              DEBTOR TO PAY AND HONOR CERTAIN PREPETITION WAGES, BENEFITS,
              AND OTHER COMPENSATION OBLIGATIONS, (II) HONOR MANAGEMENT
              SERVICES AGREEMENT AND PAY PREPETITION OBLIGATIONS RELATED
                THERETO, AND (III) AUTHORIZING BANKS TO HONOR AND PROCESS
                   CHECKS AND TRANSFERS RELATING TO SUCH OBLIGATIONS


                      Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

             hereby moves the Court (the “Motion”) for entry of an order, substantially in the form

             attached hereto as Exhibit A, pursuant to Sections 105(a), 363(b), 507(a)(4), and 507(a)(5)

             of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) for

             the following relief:

                      (I) authorizing, but not directing, Debtor: (a) to pay its employees ( “Employees”)

             accrued prepetition wages, salaries, and bonuses (collectively, the “Employee Claims”);

             (b) to honor any prepetition obligations in respect of, and continue in the ordinary course of

             business until further notice (but not assume), certain of Debtor’s paid time off (vacation &

             sick leave), worker’s compensation, employee, and retiree benefit plans and programs

             (collectively, the “Employee Benefits”), as described below; (c) to reimburse Employees for

             prepetition expenses that Employees incurred on behalf of Debtor in the ordinary course of

             business (the “Employee Expenses”); (d) to pay all related prepetition payroll taxes and




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             other deductions (the “Employee Withholdings”); and (e) to the extent that any of the

             foregoing programs is administered, insured, or paid through a third-party administrator or

             provider, to pay any prepetition claims of such administrator and provider in the ordinary

             course of business to ensure the uninterrupted delivery of payments or other benefits to the

             Employees (the “Employee Administrator Obligations” and collectively with the

             Employee Claims, the Employee Benefits, the Employee Expenses, and the Employee

             Withholdings, the “Employee Obligations”);

                    (II) authorizing, but not requiring, Debtor to continue performing and exercising its

             respective rights and obligations under the Management Agreement (defined below) with

             Vanity, Inc. in the ordinary course of business; and

                    (III) authorizing Debtor’s bank and other financial institutions (collectively, the

             “Banks”) to honor and process related checks and electronic transfers.

                    In support of this Motion, Debtor relies on the Declaration of Jill Motschenbacher in

             Support of Chapter 11 Petition and First Day Motions (the “First Day Declaration”), which

             was filed contemporaneously with this Motion and is incorporated herein by reference. In

             further support of this Motion, Debtor respectfully represents as follows:

                                           JURISDICTION AND VENUE

                    1.     This Court has jurisdiction over this Chapter 11 case and this Motion pursuant

             to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

             Venue of this Chapter 11 case and this Motion in this district is proper under 28 U.S.C.

             §§ 1408 and 1409. The statutory bases for the relief sought herein are sections 105(a),




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             363(b), 507(a)(4), and 507(a)(5) of the Bankruptcy Code and Rules 6003 and 6004 of the

             Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                    BACKGROUND

                    2.      On the date hereof (the “Petition Date”), Debtor commenced a voluntary case

             under chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

             business and manage its property as debtors in possession pursuant to sections 1107(a) and

             1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

             been appointed in this Chapter 11 case.         Additional factual background relating to the

             Debtor’s business, capital structure, and the commencement of this Chapter 11 case is set

             forth in detail in the First Day Declaration.

                                                RELIEF REQUESTED

                    3.      By this Motion, Debtor requests that the Court enter an order authorizing, but

             not directing, Debtor, in its sole discretion: (A) to pay Employee Claims; (B) to honor any

             prepetition obligations in respect of, and continue in the ordinary course of business until

             further notice (but not assume), certain Employee Benefits, as described below; (C) to

             reimburse Employee Expenses; (D) to pay all related Employee Withholdings; and (E) to the

             extent that any Employee Benefit is administered, insured, or paid through a third-party

             administrator or provider, to pay any Employee Administrator Obligations.

                    4.      Debtor also requests this Court authorize, but not require, Debtor to continue

             performing and exercising its respective rights and obligations under the Management

             Agreement it is a party to with Vanity, Inc.




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                      5.   Debtor also requests this Court authorize the Banks, when requested by

             Debtor, in its discretion, to honor and process any checks or electronic transfers drawn on

             Debtor’s bank accounts to pay any prepetition obligations described herein, whether such

             checks or other requests were submitted prior to or after the Petition Date, provided that

             sufficient funds are available to make such payments. Debtor further requests the Banks be

             authorized to rely on Debtor’s designation of any particular check or electronic transfer

             request as approved pursuant to this Motion.

             I.       EMPLOYEE OBLIGATIONS

                      A.   Employee Claims

                      6.   Debtor’s workforce is comprised of full-time salaried employees, full-time

             hourly employees (collectively, the “Full-Time Employees”), and regular part-time hourly

             employees (the “Part-Time Employees”).             As of the Petition Date, Debtor employs

             approximately 274 Full-Time Employees and 1,049 Part-Time Employees. Of those, 8

             Employees are currently on leave. All Employees are stationed at one of Debtor’s retail store

             or web fulfillment locations.

                      7.   All Employees are paid bi-weekly for the prior two weeks ending on the

             Saturday of any payroll week. Payroll to the Employees is funded in net to ADP, Inc.,

             Debtor’s third-party payroll administrator, two business days before each pay date and

             payroll taxes/withholding/garnishments are funded to ADP, Inc. one business day before

             each pay date. ADP, Inc. is responsible for distributing net pay to the Employees from its

             own accounts. In 2016, the average amount funded to ADP, Inc. in each two-week period

             was approximately $537,000.      Debtor’s prepetition payroll date of February 27, 2017,




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             covered the pay period from February 5, 2017 through February 18, 2017. The total amount

             of the February 27, 2017 payroll was approximately $543,000. Debtor’s next scheduled

             payroll date is March 13, 2017, and it will cover the pay period from February 19, 2017

             through March 4, 2017.

                      8.    Debtor pays ADP, Inc. approximately $8,000 per month for its administrative

             services. Debtor further estimates it owes ADP, Inc. approximately $18,300 for W-2’s for

             2016. As of the Petition Date, approximately $34,000 is owing to ADP, Inc.

                      9.    Debtor believes that, as of the Petition Date, approximately $385,000 was

             earned but remains unfunded with respect to Employees on account of accrued prepetition

             wages and salaries. The amount owed to any individual Employee on account of Employee

             Claims does not exceed the statutory salary cap established in 11 U.S.C. § 507(a)(4) of

             $12,850. Additionally, Debtor believes that, as of the Petition Date, approximately $80,000

             was earned but remains unfunded with respect to Employees on account of accrued

             prepetition monthly incentive program, store closing retention incentives, and annual shrink

             bonus.

                      B.    Employee Benefits

                            1.    Paid Time Off

                      10.   Full-Time Employees accrue Paid Time Off (“PTO”) on a pro rata basis

             throughout the year. PTO time is accrued based on years of service. Full-Time Employees

             with up to four years of full-time service can earn up to 130 PTO hours per year. Full-Time

             Employees with five to nine years of full-time service can earn up to 156 PTO hours per

             year. Full-Time Employees with ten or more years of full-time service can earn up to




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             182 PTO hours per year. Unused PTO hours may be carried over to the following year,

             provided that the maximum amount is 80 hours or less. Once an Employee reaches the

             maximum unused PTO accrual of 240 hours, the Employee may not accrue any additional

             PTO until the Employee uses PTO below the maximum. PTO pay is calculated based on the

             Employee’s base hourly pay or base salary. Unless otherwise required by state law, at

             separation of employment, Employees receive payment of PTO on the basis of full-time

             service as follows: no PTO payment for less than 18 months of full-time service; 18-24

             months of full-time service receive accumulated unused hours up to 40 hours; 25-36 months

             of full-time service receive accumulated unused hours up to 80 hours; 37-59 months of full-

             time service receive accumulated unused hours up to 120 hours; and 60 months or more of

             full-time service receive accumulated unused hours up to 160 hours.

                    11.    As of the Petition Date, the Employees had approximately $180,000 of

             accrued and unused PTO in the aggregate. Debtor seeks authorization to continue its PTO

             policy and to honor, in the ordinary course of business, all unused PTO time accrued prior to

             the Petition Date, but not to make cash payments on account of accrued but unused PTO

             time, except at separation of employment and where required by state law.

                           2.     Sick and Safe Leave

                    12.    Part-Time Employees in the City of Spokane, Washington accrue Sick and

             Safe Leave (“Sick Leave”) on a pro rata basis throughout the year effective January 1, 2017.

             Sick Leave is accrued based on hours worked. Part-Time Employees accrue one-hour of

             Sick Leave for every 30 hours worked in the City of Spokane up to 40 hours per year. Sick




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             pay is calculated based on the Employee’s base hourly pay. Unused Sick Leave may be

             carried over to the following year, provided that the maximum amount is 40 hours or less.

                    13.     As of the Petition Date, the Employees had approximately $400 of accrued

             and unused Sick Leave in the aggregate. Debtor seeks authorization to continue its Sick

             Leave and to honor, in the ordinary course of business, all unused Sick Leave accrued prior

             to the Petition Date, but not to make cash payments on account of accrued but unused Sick

             Leave, except at separation of employment and where required by state law.

                            3.     Employee Benefit Plans

                    14.     Prior to the Petition Date, Debtor offered Full-Time Employees various

             standard employee benefits (the “Benefit Programs”) including, without limitation,

             (i) medical and prescription drug coverage, (ii) dental insurance, (iii) vision insurance,

             (iv) COBRA (as defined herein) coverage, (v) flexible spending accounts, (vi) life, short term

             disability, and accidental death and dismemberment insurance, (vii) additional medical

             administration costs, and (viii) voluntary benefits of additional life insurance, accident,

             cancer, and hospital indemnity. Such benefits are administered pursuant to plans, programs,

             and policies that cover the Full-Time Employees. The amounts set forth below reflect the

             approximate prepetition costs of such Benefit Programs, which the Debtor seeks to continue

             in the ordinary course of its business.

                                   i.       Medical Insurance Program

                    15.     Debtor offers a self-insured medical and prescription drug programs (the

             “Health Plan”) to Full-Time Employees, which is administered by Blue Cross Blue Shield

             of North Dakota. The Health Plan is approximately 75% paid by Debtor and 25% paid by




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             the Full-Time Employees through paycheck withholdings. Debtor also maintains a stop-loss

             insurance policy (the “Stop-Loss Policy”) to provide protection against catastrophic losses

             under their self-insured medical insurance program, which is also administered by Blue

             Cross Blue Shield of North Dakota. The average monthly cost (after taking into account

             Employee contributions) of maintaining the Health Plan, including administrative costs and

             premiums in respect of the Stop-Loss Policy, has been approximately $45,000 per month.

             The Health Plan administrator initiates an ACH payment paid on a weekly basis on account

             of claims paid by the administrators on Debtor’s behalf. Debtor is unable to estimate with

             specificity the prepetition amounts owing in respect of the Health Plan because the typical

             lag time on Employees’ submissions of medical claims is approximately 30 days. However,

             based on historical data, Debtor estimates that as of the Petition Date, it owes approximately

             $60,000 in respect of “incurred but not reported” claims under the Health Plan and related

             administrative costs (excluding amounts paid through Employee deductions), $8,000 in

             Health Plan Premiums, and approximately $15,000 in respect of filed claims that have not

             yet been paid. Debtor seeks authorization to pay prepetition amounts in respect of the Health

             Plan in an amount not to exceed $260,000 and to continue to pay postpetition costs of the

             Health Plan, including premiums in respect of the Stop-Loss Policy, during the pendency of

             this Chapter 11 case.

                                     ii.      Dental Insurance Program

                    16.    Debtor offers a self-insured dental program (the “Dental Program”) to Full-

             Time Employees, which is administered by Blue Cross Blue Shield of North Dakota. The

             Dental Plan is approximately 25% paid by Debtor and 75% paid by the Full-Time Employees




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             through paycheck withholdings.       The average monthly cost (after taking into account

             Employee contributions) of maintaining the Dental Plan, including administrative costs, has

             been approximately $4,000 per month. Debtor is unable to estimate with specificity the

             prepetition amounts owing in respect of the Dental Plan because the typical lag time on

             Employees’ submissions of dental claims is approximately 30 days. However, based on

             historical data, Debtor estimates that as of the Petition Date, it owes approximately $4,000 in

             respect of “incurred but not reported” claims under the Dental Plan and related

             administrative costs (excluding amounts paid through Employee deductions), $2,000 in

             Dental Plan Premiums, and approximately $1,000 in respect of filed claims that have not yet

             been paid. Debtor seeks authorization to pay prepetition amounts in respect of the Dental

             Plan in an amount not to exceed $20,000 and to continue to pay postpetition costs of the

             Dental Plan during the pendency of this Chapter 11 case.

                                  iii.     Vision Insurance

                    17.    Debtor offers vision insurance to Full-Time Employees through Avesis (the

             “Vision Plan”). Full-Time Employees participating in the Vision Plan pay 100% of the plan

             premiums through paycheck withholdings. As of the Petition Date, $1,250 is owing on the

             Vision Plan. Debtor seeks authorization to pay prepetition amounts in respect of the Vision

             Plan in an amount not to exceed $1,500 and to continue to pay postpetition costs of the

             Vision Plan during the pendency of this Chapter 11 case.

                                  iv.      COBRA

                    18.    Debtor seeks to continue to perform obligations under Section 4980B of the

             Internal Revenue Code to administer Continuation Health Coverage (26 U.S.C. § 4980B)




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             (“COBRA”) in respect to former Employees and their covered dependents. Vanity, Inc. is

             the third-party COBRA administrator for Debtor. Debtor has paid approximately $4,000 per

             month for administration of its COBRA obligations. Debtor estimates that as of the Petition

             Date it owes approximately $1,400 in respect of this benefit. Debtor seeks authorization to

             continue to pay prepetition costs in an amount not to exceed $9,000 and to continue to pay

             postpetition costs of the COBRA program during the pendency of this Chapter 11 case.

                                  v.       Flexible Spending and Health Savings Accounts

                    19.    Debtor offers Full-Time Employees the use of a dependent care flexible

             spending and health savings accounts for various medical claims not otherwise covered or

             payable by the Health Plan. The flexible spending and health savings benefits (the “Flex

             Benefits”) are administered by Discovery Benefits. Debtor has paid approximately $35 per

             month for administration of all Flex Benefit plans. Debtor estimates that as of the Petition

             Date it owes approximately $725 in respect of these benefits. Debtor seeks authorization to

             continue to pay prepetition costs in an amount not to exceed $800 and to continue to pay

             postpetition costs of the Flex Benefits during the pendency of this Chapter 11 case.

                                  vi.      Life, Disability, and Related Insurance Coverage

                    20.    Debtor provides Full-Time Employees with company-funded short-term

             disability insurance, accidental death and dismemberment insurance, and basic life insurance,

             all of which are insured by Unum Life Insurance. Debtor pays 100% of the costs of these

             benefits. In the aggregate, the average monthly cost of maintaining these programs has been

             approximately $4,100. As of the Petition Date, approximately $4,100 is owing on short-term

             disability insurance, accidental death and dismemberment insurance, and basic life insurance.




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             Accordingly, Debtor seeks authorization to continue to pay prepetition costs in an amount

             not to exceed $4,500 and to continue to pay postpetition costs of short-term disability

             insurance, accidental death and dismemberment insurance, and basic life insurance during

             the pendency of this Chapter 11 case.

                                   vii.    Additional Medical Administration Costs

                    21.    Debtor is required to pay certain fees related to the Affordable Care Act. As

             of the Petition Date, Debtor owes an estimated $700 in respect to Patient-Centered Outreach

             Research Institute (PCORI) fees. Debtor seeks authorization to continue to pay prepetition

             costs in an amount not to exceed $1,000 and to continue to pay postpetition costs of this

             benefit during the pendency of this Chapter 11 case.

                                   viii.   Voluntary Benefits of Additional Life Insurance; Accident;
                                           Cancer, and Hospital Indemnity

                    22.    Debtor offers voluntary insurance benefits to Full-Time Employees for life

             insurance through Unum Life Insurance Company (“Voluntary Life”) and accident, cancer,

             and hospital indemnity through AFLAC (“Voluntary Other”).               Full-Time Employees

             participating in the Voluntary Life and Voluntary Other programs pay 100% of these benefits

             through paycheck withholdings. As of the Petition Date, Debtor owes an estimated $150

             with respect to Voluntary Life and $4,100 in respect to Voluntary Other programs. Debtor

             seeks authorization to continue to pay prepetition costs in an amount not to exceed $300 for

             Voluntary Life and $4,500 for Voluntary Other programs and to continue to pay postpetition

             costs of this benefit during the pendency of this Chapter 11 case.




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                                   ix.     Honoring of Prepetition Benefits

                    23.    As of the Petition Date, certain of the Benefit programs described above

             remained unpaid or not yet provided because certain obligations of Debtor under the

             applicable plan, program, or policy accrued either in whole or in part prior to the

             commencement of this Chapter 11 case, but will not be required to be paid or provided in the

             ordinary course of Debtor’s business until a later date. Debtor seeks authority to pay or

             provide, as they become due, all amounts in respect of the Benefit Programs described above

             that have already accrued, subject to the caps set forth herein.

                                   x.      Continuation of Benefit Programs Postpetition

                    24.    Debtor also requests confirmation of its right to continue to perform its

             obligations with respect to these Benefit Programs for the duration of its Chapter 11 case.

             These programs are an important component of the total compensation offered to the

             Employees and are essential to Debtor’s efforts to maintain Employee morale and minimize

             attrition among those whose retention is important for Debtor’s success. Debtor believes that

             the expenses associated with such programs are reasonable and necessary in light of the

             potential attrition, loss of morale, and loss of productivity that would occur if such programs

             were discontinued.

                           4.      Worker’s Compensation Plan

                    25.    Under the laws of various states, Debtor is required to maintain worker’s

             compensation insurance to provide its Employees with coverage for injury claims arising

             from or related to their employment with Debtor. Debtor maintains a worker’s compensation

             benefits program through Liberty Mutual Insurance (the “WC Program”) and other state




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             programs in North Dakota, Washington, Wyoming, and Ohio. The WC Program provides

             benefits to all Employees for claims arising from or related to their employment with Debtor.

                    26.    As of the Petition Date, Debtor believes it is current with all administrative

             expenses in connection with the WC Program. For the claims administration process in this

             Chapter 11 case to operate as efficiently as possible, and to ensure that Debtor complies with

             state law, it is necessary that Debtor obtains authority to continue to maintain the WC

             Program in the ordinary course of business, and to pay prepetition amounts related thereto,

             including, without limitation, any payments for worker’s compensation claims, Employee

             Administrator Obligations to North Dakota, Washington, Wyoming and Ohio, and other

             amounts required in connection with the program as such amounts become due in the

             ordinary course during the pendency of this Chapter 11 case.

                           5.     Retirement Savings Program

                    27.    Debtor maintains a 401(k) plan (the “Retirement Plan”), administered by Bell

             State Bank, through which qualified and participating Employees may defer a portion of their

             salary to help meet their financial goals and accumulate savings for their future.        The

             Retirement Plan is funded by Employee and employer contributions.           Debtor currently

             provides a match of 50% on each Employee’s first 4% of deferred compensation. The

             Debtor’s matching contributions vests on the basis of years of service. In 2016, Debtor’s

             incurred expense for matching contributions was approximately $45,000. As of the Petition

             Date, there is $15,000 accrued but unfunded matching contributions with respect to the

             Retirement Plan.




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                    28.    Debtor also pays Bell State Bank approximately $300 per year to file the 5500

             tax return for the Retirement Plan and pays Eide Bailly approximately $8,000 per year to

             conduct an audit of the Retirement Plan. As of the Petition Date, no amounts are owing for

             these services.

                    29.    Debtor seeks authorization to continue to pay prepetition costs in an amount

             not to exceed $15,000 and to continue to pay postpetition costs of the Retirement Plan during

             the pendency of this Chapter 11 case.

                    C.     Employee Expenses

                    30.    Prior to the Petition Date, Debtor directly or indirectly reimbursed its

             Employees for certain expenses incurred in the scope of their employment on behalf of

             Debtor. The Employee Expenses are incurred in the ordinary course of Debtor’s business

             operations and include, without limitation, expenses for meals, travel, automobile mileage,

             and other business-related expenses.

                    31.    Absent authority to pay the Employee Expenses incurred prepetition, the

             Employees could be obligated to pay such amounts out of their personal funds. Debtor,

             therefore, seeks authority to pay all outstanding Employee Expenses in an amount not to

             exceed $15,000, and to continue the foregoing policy with respect to all remaining

             Employees during the pendency of this Chapter 11 case.

                    D.     Employee Withholdings

                    32.    Debtor routinely deducts certain amounts from Employees’ compensation that

             represent earnings that judicial or government authorities or the Employees have designated

             for deduction, including, for example, various federal, state, and local income, Federal




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             Insurance Contribution Act (“FICA”) and other taxes, support payments and tax levies,

             savings programs contributions, benefit plans insurance programs, and other similar

             programs, and forward those amounts to various third-party recipients.

                    33.     In addition, Debtor is responsible for remitting, for its own account, various

             taxes and fees associated with payroll pursuant to the FICA and federal and state laws

             regarding unemployment and disability taxes (“Payroll Taxes”). Debtor believes, as of the

             Petition Date, they are current on Payroll Taxes. Debtor seeks authority to deduct Employee

             Withholdings in the ordinary course of business and remit Employee Withholdings to the

             appropriate third parties, including, without limitation, amounts determined to be related to

             the period prior to the Petition Date.

             II.    MANAGEMENT AGREEMENT

                    34.     Management, corporate, and administrative employees are provided to the

             Debtor by Vanity, Inc. (collectively, the “Administrative Employees”) pursuant to that

             certain Management Agreement by and between Debtor and Vanity, Inc. dated October 1,

             2005, as amended (the “Management Agreement”).             A true and correct copy of the

             Management Agreement and amendments is annexed hereto as Exhibit B.               All of the

             administrative and management services for Debtor including human resources

             administration, accounting/bookkeeping, marketing, IT support, product sourcing and design,

             training of Debtor’s store employees, etc. are provided by the Administrative Employees

             pursuant to the Management Agreement. Vanity, Inc. has 104 Administrative Employees as

             of the Petition Date. These Administrative Employees, working alongside the Employees,




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             are responsible for operating the Debtor on a day-to-day basis, and are intimately familiar

             with the Debtor’s business.

                    35.    Debtor’s ability to maintain business operating during the wind-down and

             preserve the value of Debtor’s assets and maximize creditor recovery hinges on the services

             of the Administrative Employees.      Should Debtor be required to obtain these services

             elsewhere, either from a third party or by hiring employees capable of providing such

             services and managing Debtor, it would create significant additional costs to Debtor and

             major disruption to, or shut down of, the Debtor’s operations. In short, Debtor would be

             incapable of functioning without the services provided by the Other Employees. Thus, the

             continued ability to rely upon the provision of Administrative Employees is critical to the

             Debtor’s wind down efforts in this Chapter 11 case.

                    36.    Pursuant to the Management Agreement, Debtor is required to reimburse

             Vanity, Inc. on a monthly basis for 100% of its direct management costs. This includes

             reimbursement for Administrative Employees’ compensation and benefits, operating costs

             incurred by Vanity, Inc. on behalf of Debtor and overhead costs attributable to the

             Administrative Employees (collectively, the “Management Services Obligations”).

             Importantly, the only payments made to Vanity, Inc. under the Management Agreement

             (with one exception discussed below), are to reimburse Vanity, Inc. for the actual cost of the

             services, and Vanity, Inc. receives no pass-through revenue or margin.

                    37.    The Administrative Employees are paid on a bi-weekly basis, and the Debtor

             reimburses Vanity, Inc. for such payments daily pursuant to the Management Agreement. As

             of the Petition Date, the Debtor owes Vanity, Inc. approximately $315,000 in respect of such




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             wages, salaries, severance, and accrued PTO pursuant to the Management Agreement. Given

             that Vanity, Inc. pays the Administrative Employees, and Debtor simply reimburses Vanity,

             Inc. in respect of such payments, the statutory caps set forth in sections 507(a)(4) and

             507(a)(5) of the Bankruptcy Code do not apply to the Administrative Employees and the

             Debtor’s payments to Vanity, Inc. under the Management Agreement in respect thereof.

             Nonetheless, Vanity, Inc.’s books and records indicate that only one (1) Administrative

             Employee is owed prepetition wages, salaries, severance, and accrued but unearned PTO

             exceeding the statutory cap as of the Petition Date.

                    38.    The Management Agreement, in addition to requiring Debtor to reimburse

             Vanity, Inc. for 100% of its direct management costs, requires Debtor to pay Vanity, Inc., on

             a quarterly basis, a profitability bonus equal to 75% of Debtor’s pretax net profit. In that

             Debtor has not recently had a pre-tax net profit, this provision of the Management

             Agreement is not relevant at this time and Debtor does not intend to pay any bonus to Vanity,

             Inc. without further order of the Court.

             III.   DIRECTION TO BANKS

                    39.    Finally, Debtor seeks an order authorizing the Banks to receive, process,

             honor, and pay all of Debtor’s prepetition checks and fund transfers on account of any

             Employee Obligations, and prohibiting the Banks from placing any holds on, or attempting

             to reverse, any automatic transfers to any account of an Employee or other party for

             Employee Obligations. Debtor also seeks an order authorizing it to issue new postpetition

             checks or effect new postpetition fund transfers on account of the Employee Obligations to

             replace any prepetition checks or fund transfers that may be dishonored or rejected.




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             IV.    SUMMARY

                    40.      Debtor seeks authority to continue to honor and implement the Employee-

             related policies and practices as described above and to pay Employee Prepetition

             Obligations subject to the limits set forth below:

                                              Category 1                          Amount
                           Employee Claims 2                                   $499,000
                           (2/19/17 – 3/1/17)
                           Paid Time Off (only at separation and where         $180,400
                           required by state law)
                           Health Plan                                         $260,000

                           Dental Plan                                         $20,000

                           Vision Plan                                         $1,500

                           COBRA                                               $9,000

                           Flex Benefits                                       $800

                           Life, Disability, and Related Coverage              $4,500

                           Additional Medical Administration Costs             $1,000

                           Voluntary Life                                      $300

                           Voluntary Other                                     $4,500

                           Retirement Plan                                     $15,000

                           Employee Expenses                                   $15,000

                           Administrative Employee Obligations Under the       $315,000
                           Management Agreement with Vanity, Inc.
                           (2/19/17 – 3/1/17)

                    1
                        Each category includes amounts for related Employee Administrator Obligations
                    2
                        No Employee will be paid more than $12,850 in the aggregate with respect to Employee
             Claims.


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                                                   BASIS FOR RELIEF

             I.       THE COURT SHOULD AUTHORIZE, BUT NOT DIRECT, DEBTOR, IN ITS
                      DISCRETION, TO PAY OR OTHERWISE HONOR THE EMPLOYEE
                      OBLIGATIONS.

                      41.    Debtor seeks the relief requested herein because any delay in paying or

             otherwise honoring any of the Employee Obligations could severely disrupt Debtor’s

             relationship with, and irreparably impair the morale of, the Employees at a time when their

             continued dedication, confidence, cooperation, and services are most critical to Debtor and

             the success of the Store Closing Sales and related wind-down initiatives. Debtor faces the

             risk that its ability to effectively operate its business and wind down its operations in an

             efficient manner may be severely jeopardized if Debtor is not immediately granted authority

             to pay the Employee Obligations. Granting the relief requested in this Motion on the

             grounds set forth below will allow Debtor to continue to operate with minimal disruption and

             enable it to maximize the value of its estate for the benefit of all stakeholders.

                      42.    Pursuant to section 507(a)(4) of the Bankruptcy Code, each Employee may be

             granted a priority claim for:

                      allowed unsecured claims, but only to the extent of $12,850 for each
                      individual or corporation, as the case may be, earned within 180 days before
                      the date of the filing of the petition or the date of the cessation of the debtor’s
                      business, whichever occurs first, for –

                             (A)     wages, salaries, or commissions, including vacation, severance,
                                     and sick leave pay earned by an individual.

             11 U.S.C. § 507(a)(4).

                      43.    Likewise, under section 507(a)(5) of the Bankruptcy Code, Employees may

             ultimately be granted a priority claim for:




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                    allowed unsecured claims for contributions to an employee benefit plan –

                           (A)     arising from services rendered within 180 days before the date
                                   of the filing of the petition or the date of the cessation of the
                                   debtor’s business, whichever occurs first; but only

                           (B)     for each such plan, to the extent of –

                                   (i)     the number of employees covered by each such plan
                                           multiplied by $12,850; less

                                   (ii)    the aggregate amount paid to such employees under
                                           paragraph (4) of his subsection, plus the aggregate
                                           amount paid by the estate on behalf of such employees to
                                           any other employee benefit plan.

             11 U.S.C. § 507(a)(5).

                    44.    Debtor believes that a substantial portion of the relief requested herein is

             within the statutory caps of section 507(a)(4) and 507(a)(5) of the Bankruptcy Code. Debtor,

             therefore, would be required to pay these claims in full to confirm any chapter 11 plan.

             11 U.S.C. § 1129(a)(9)(B) (requiring payment of certain allowed unsecured claims for wages

             and salaries and certain allowed unsecured claims for contributions to an employee benefit

             plan). Thus, granting the relief requested herein would only affect the timing, and not the

             amount, of the payment of such amounts to the extent that they constitute priority claims.

                    45.    Even if a particular claim is not entitled to priority, payment is nonetheless

             justified under section 363(b)(1) of the Bankruptcy Code, which empowers the Court to

             allow Debtor to “use, sell, or lease, other than in the ordinary course of business, property of

             the estate.” 11 U.S.C. § 363(b)(1). Debtor’s decision to use, sell, or lease assets outside the

             ordinary course of business must be based upon its sound business judgment.               In re

             Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999). Courts emphasize that




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             the business judgment rule is not an onerous standard and may be satisfied “as long as the

             proposed action appears to enhance the debtor’s estate.” Crystalin, LLC v. Selma Props.,

             Inc., 293 B.R. 455, 463-64 (B.A.P. 8th Cir. 2003) (quoting Four B. Corp. v. Food Barn

             Stores, Inc., 107 F.3d 558, 566 n.16 (8th Cir. 1997)). Under the business judgment rule,

             “management of a corporation’s affairs is placed in the hands of its board of directors and

             officers, and the Court should interfere with their decisions only if it is made clear that those

             decisions are clearly erroneous, made arbitrarily, are in breach of the officers’ and directors’

             fiduciary duty to the corporation, are made on the basis of inadequate information or study,

             are made in bad faith, or are in violation of the Bankruptcy Code.” In re Farmland Indus.,

             Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003).

                    46.    In addition to section 363(b)(1), payment is further justified under section

             105(a) of the Bankruptcy Code and the well-established “doctrine of necessity.” The Court’s

             power to utilize the doctrine of necessity in chapter 11 cases derives from the Court’s

             inherent equity powers and its statutory authority to “issue any order, process, or judgment

             that is necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

             The United States Supreme Court first articulated the doctrine of necessity over a century

             ago in Miltenberger v. Logansport Railway Company, 106 U.S. 286 (1882), in affirming the

             authorization by the lower court of the use of receivership funds to pay pre-receivership

             debts owed to employees, vendors, and suppliers, among others, when such payments were

             necessary to preserve the receivership property and the integrity of the business in

             receivership. See id. at 309-14. The modern application of the doctrine of necessity is

             largely unchanged from the Court’s reasoning in Miltenberger. See In re Lehigh & New




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             Eng. Ry., 657 F.2d 570, 581-82 (3d Cir. 1981) (“[I]n order to justify payment under the

             ‘necessity of payment’ rule, a real and immediate threat must exist that failure to pay will

             place the [debtor’s] continued operation . . . in serious, jeopardy.”).

                    47.     The doctrine of necessity permits the Court to authorize payment of certain

             prepetition claims prior to the completion of the reorganization process where the payment of

             such claims is necessary to the reorganization. See In re Just for Feet, Inc., 242 B.R. 821,

             826 (D. Del. 1999) (stating that where the debtor “cannot survive” absent payment of certain

             prepetition claims, the doctrine of necessity should be invoked to permit payment); see also

             In re NVR L.P., 147 B.R. 126, 127 (Bankr. E.D. Va. 1992) (“[T]he court can permit pre-plan

             payment of a pre-petition obligation when essential to the continued operation of the

             debtor.”); In re Eagle-Picher Indus., Inc., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991)

             (“[T]o justify payment of a pre-petition unsecured creditor, a debtor must show that the

             payment is necessary to avert a serious threat to the Chapter 11 process.”).

                    48.     The Employees perform a variety of critical functions for Debtor, and their

             knowledge, skills, and service are essential to the success of the Store Closing Sales.

             Without the continued service and dedication of the Employees, it will be difficult, if not

             impossible, to efficiently and effectively complete the going-out-of-business sales and

             maximize the value of Debtor’s assets. Moreover, absent the requested relief, the Employees

             would suffer great hardship and, in many instances, financial difficulties, because these

             monies and benefits are needed to enable them to meet their personal obligations. This

             would have a highly negative impact on workforce morale and likely would result in

             unmanageable performance issues or turnover, thereby resulting in immediate and




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             irreparable harm to Debtor and its estate. Debtor, therefore, believes it is necessary to pay

             and/or honor the prepetition Employee Obligations to maintain employee morale and a

             focused workforce during this critical time, which will allow Debtor to avoid any

             inopportune interruptions to their efforts to maximize the value of its estate for the benefit of

             all stakeholders.

             II.    THE COURT SHOULD AUTHORIZE, BUT NOT DIRECT, DEBTOR TO
                    CONTINUE     PERFORMING AND  EXERCISING  RIGHTS   AND
                    OBLIGATIONS UNDER THE MANAGEMENT AGREEMENT WITH
                    VANITY, INC.

                    49.     The same analysis applies with respect to maintaining Debtor’s Management

             Agreement with Vanity, Inc.        As noted above, Vanity, Inc. and the Administrative

             Employees are essential to Debtor’s operations given its administration of crucial services.

             Without the ability to maintain the Management Agreement, Debtor will further face added

             costs to facilitate its wind-down process.

             III.   THE COURT SHOULD AUTHORIZE THE BANKS TO HONOR AND
                    PROCESS DEBTOR’S PAYMENTS ON ACCOUNT OF THE EMPLOYEE
                    OBLIGATIONS.

                    50.     Debtor represents that it has sufficient funds to pay the amounts described

             herein in the ordinary course of business by virtue of expected cash flows from ongoing

             business operations, and anticipated access to cash collateral.           As a result of the

             commencement of this Chapter 11 case and in the absence of an order of the Court providing

             otherwise, Debtor’s checks and electronic fund transfers in respect of the Employee

             Obligations may be dishonored or rejected by financial institutions. Under Debtor’s cash

             management system, Debtor can readily identify checks or transfers as relating directly to

             payment of Employee Obligations. Accordingly, Debtor believes that prepetition checks and



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             transfers other than those for Employee Obligations will not be honored inadvertently.

             Debtor submits that any Bank should be authorized to rely on the representations of Debtor

             with respect to whether any check drawn or transfer request issued by Debtor prior to the

             Petition Date should be honored pursuant to this Motion.

                    51.     For the reasons set forth above, Debtor submits that the relief requested herein

             is in the best interests of Debtor, its estate, and its creditors and, therefore, should be granted.

                                        IMMEDIATE RELIEF IS JUSTIFIED

                    52.     Bankruptcy Rule 6003 provides the relief requested in this Motion may be

             granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr.

             P. 6003. Debtor submits for the reasons already set forth herein, the relief requested in this

             Motion is necessary to avoid immediate and irreparable harm to Debtor.

                                       WAIVER OF ANY APPLICABLE STAY

                    53.     Debtor also requests the Court waive the stay imposed by Bankruptcy Rule

             6004(h), which provides “[a]n order authorizing the use, sale, or lease of property other than

             cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

             court orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief sought

             herein is necessary for Debtor to operate its business without interruption and to preserve

             value of its estate. Accordingly, Debtor respectfully requests the Court waive the fourteen-

             day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought

             herein justifies immediate relief.




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                                             RESERVATION OF RIGHTS

                    54.     Nothing in this Motion or any actions taken by Debtor pursuant to relief

             granted in any order (i) is intended or shall be deemed to constitute an assumption of any

             agreement pursuant to section 365 of the Bankruptcy Code or (ii) shall impair, prejudice,

             waive, or otherwise affect the rights of Debtor or its estate with respect to the validity,

             priority, or amount of any claim against Debtor and its estate.

                                                         NOTICE

                    55.     Notice of this Motion has been given to: (i) the Office of the United States

             Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National

             Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

             against Debtor; (iv) the Banks; (v) counsel to any committee appointed in this case; and

             (vi) any party that has requested notice pursuant to Bankruptcy Rule 2002. Debtor submits,

             in light of the nature of the relief requested, no other or further notice need be given.

                                                     CONCLUSION

                    56.     WHEREFORE, Debtor respectfully requests the Court enter an order,

             substantially in the form attached hereto as Exhibit A, granted the relief requested herein and

             such other and further relief as is just and proper.




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                 Dated this 1st day of March, 2017.

                                                      VOGEL LAW FIRM


                                                BY: /s/ Caren W. Stanley
                                                    Jon R. Brakke (#03554)
                                                    jbrakke@vogellaw.com
                                                    Caren W. Stanley (#06100)
                                                    cstanley@vogellaw.com
                                                    218 NP Avenue
                                                    PO Box 1389
                                                    Fargo, ND 58107-1389
                                                    Telephone: 701.237.6983
                                                    PROPOSED ATTORNEYS FOR DEBTOR




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                                              Exhibit A

                                           (Proposed Order)




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                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NORTH DAKOTA


             In Re:                                               Case No.: 17-30112

             Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                                    Debtor.


               ORDER (I) AUTHORIZING THE DEBTOR TO PAY AND HONOR CERTAIN
                 PREPETITION WAGES, BENEFITS, AND OTHER COMPENSATION
              OBLIGATIONS, (II) HONOR MANAGEMENT SERVICES AGREEMENT AND
                 PAY PREPETITION OBLIGATIONS RELATED THERETO, AND (III)
             AUTHORIZING BANKS TO HONOR AND PROCESS CHECKS AND TRANSFERS
                               RELATING TO SUCH OBLIGATIONS


                      Upon consideration of the motion (the “Motion”) 1 of Debtor for the entry of an order,

             pursuant to sections 105(a), 363(b), 507(a)(4), and 507(a)(5) of the Bankruptcy Code,

             (i) authorizing, but not directing, Debtor, in accordance with its stated policies and in its

             discretion, to pay, honor, or otherwise satisfy certain of the Employee Obligations, including

             amounts and obligations related to the period prior to the Petition Date, (ii) authorizing, but

             not requiring, Debtor to continue performing and exercising rights and obligations under the

             Management Agreement, and (iii) authorizing Banks to honor and process related checks and

             electronic transfers; and upon consideration of the Motion and all pleadings related thereto,

             including the First Day Declaration; and due and proper notice of the Motion having been

             given; and it appearing that no other or further notice of the Motion is required; and it

             appearing that this Court has jurisdiction to consider the Motion in accordance with


                      1
                      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed
             to them in the Motion or the First Day Declaration, as applicable.



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             28 U.S.C. §§ 157 and 1334; and it appearing that this is a core proceeding pursuant to

             28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and the Motion is

             proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief requested in

             the Motion and provided for herein is in the best interest of Debtor, its estate, and its

             creditors; and after due deliberation and sufficient cause appearing therefore,

                    IT IS HEREBY ORDERED:

                    1.     The Motion is GRANTED as set forth herein.

                    2.     Upon entry of this Order, Debtor is authorized, but not directed, to pay and/or

             honor (including to any third parties that provide or aid in the monitoring, processing, or

             administration of the Employee Obligations), in its sole discretion, the Employee Obligations

             as and when such obligations are due, in amounts not to exceed the limits set forth in the

             Motion; provided, however, notwithstanding any other provision of this Order, no payments

             to any Employee shall exceed the amounts set forth in sections 507(a)(4) and 507(a)(5) of the

             Bankruptcy Code unless such amounts above the $12,850 statutory cap provided for under

             section 507(a)(4) of the Bankruptcy Code (the “Statutory Cap”) are the result of cash

             payment for unpaid Paid Time Off that is required under applicable state law.

                    3.     Debtor is authorized, but not directed, in its sole discretion, in amounts not to

             exceed the limits set forth in the Motion to honor and continue the Employee Benefits that

             were in effect as of the Petition Date; provided, however, that such relief shall not constitute

             or be deemed an assumption or an authorization to assume any of such Employee Benefits

             under section 365(a) of the Bankruptcy Code.




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                    4.       Debtor is authorized, but not directed, to continue performing and exercising

             rights and obligations under the Management Agreement with Vanity, Inc. including the

             reimbursement of 100% of direct management costs in accordance with its prepetition

             ordinary course of business. Debtor will not pay any bonus to Vanity, Inc. without further

             order of the Court.

                    5.       Prepetition amounts authorized to be paid by this Order are limited as follows:

                                            Category 2                         Amount

                            Employee Claims 3                         $499,000
                            (2/19/17 – 3/1/17)
                            Paid Time Off (only at separation and     $180,400
                            where required by state law)
                            Health Plan                               $260,000

                            Dental Plan                               $20,000

                            Vision Plan                               $1,500

                            COBRA                                     $9,000

                            Flex Benefits                             $800

                            Life, Disability, and Related Coverage    $4,500

                            Additional Medical Administration         $1,000
                            Costs
                            Voluntary Life                            $300

                            Voluntary Other                           $4,500

                            Retirement Plan                           $15,000



                    2
                        Each category includes amounts for related Employee Administrator Obligations
                    3
                        No Employee will be paid more than $12,850 in the aggregate with respect to Employee
             Claims.


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                         Employee Expenses                           $15,000

                         Administrative Employee Obligations         $315,000
                         Under the Management Agreement with
                         Vanity, Inc.
                         (2/19/17 – 3/1/17)

                    6.     In addition to the foregoing, Debtor is authorized to make payments in an

             amount not to exceed $10,000 in the aggregate to reimburse certain Employees for out-of-

             pocket expenses associated with prepetition payroll payments that were unintentionally

             omitted and/or prepetition checks for payroll that did not clear. For the avoidance of doubt,

             the payment of these amounts shall not result in any single Employee being paid more than

             the Statutory Cap.

                    7.     The Banks shall be and hereby are authorized to receive, process, honor, and

             pay all prepetition and postpetition checks and fund transfers on account of the Employee

             Obligations that had not been honored and paid as of the Petition Date, provided that

             sufficient funds are on deposit in the applicable accounts to cover such payments. The Banks

             are prohibited from placing any holds on, or attempting to reverse, any automatic transfers to

             any account of an Employee or other party for Employee Obligations. Debtor shall be and is

             hereby authorized to issue new postpetition checks or effect new postpetition fund transfers

             on account of the Employee Obligations to replace any prepetition checks or fund transfer

             requests that may be dishonored or rejected.

                    8.     Notwithstanding any other provision of this Order, any Bank may rely on the

             representations of Debtor with respect to whether any check, draft, wire, or other transfer

             drawn or issued by the Debtor prior to the Petition Date should be honored pursuant to any




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             order of this Court, and any Bank that honors a prepetition check or other item drawn on any

             account that is the subject of this Order (i) at the direction of Debtor, (ii) in a good-faith

             belief that this Court has authorized such prepetition check or item to be honored, or (iii) as a

             result of an innocent mistake made despite the above-described protective measures, shall

             not be liable to Debtor or its estate on account of such prepetition check or other item being

             honored postpetition.

                    9.      Debtor may pay and remit any and all withholding, including social security,

             FICA, federal and state income taxes, garnishments, health care payments, retirement fund

             withholding, and other types of withholding, whether these relate to the period prior to or

             after the Petition Date.

                    10.     Any party receiving payment from Debtor is authorized to rely upon the

             representation of Debtor as to which payments are authorized by this Order.

                    11.     Nothing in the Motion or this Order or the relief granted (including any actions

             taken or payments made by Debtor pursuant to the relief) shall: (i) be construed as a request

             for authority to assume any executor contract under section 365 of the Bankruptcy Code;

             (ii) waive, affect, or impair any of Debtor’s rights, claims, or defenses, including, but not

             limited to, those arising from section 365 of the Bankruptcy Code, other applicable law, and

             any agreement; (iii) grant third-party beneficiary status or bestow any additional rights on

             any third party; or (iv) be otherwise enforceable by any third party.

                    12.     Nothing in this Order shall be construed as binding on this Court or any other

             party-in-interest, or to establish the law of the case, with respect to whether an individual is

             or is not an insider within the meaning of section 101(31) of the Bankruptcy Code.




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                    13.    Debtor is authorized and empowered to take all actions necessary to

             implement the relief granted in this Order.

                    14.    Nothing in this Order shall be deemed to: (i) authorize the payment of any

             amounts subject to section 503(c) of the Bankruptcy Code, (ii) authorize or approve any

             bonus plan or severance plan that is subject to section 503(c) of the Bankruptcy Code, or

             (iii) authorize Debtor to cash out unpaid vacation or leave time upon termination of an

             employee unless applicable state law requires such payment.

                    15.    Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

             Motion is necessary to avoid immediate and irreparable harm to Debtor.

                    16.    Notwithstanding any provision in the Bankruptcy Rules to the contrary:

             (i) this Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not

             subject to any stay in the implementation, enforcement, or realization of the relief granted in

             this Order; and (iii) Debtor is authorized and empowered, and may in its discretion and

             without further delay, take any action necessary or appropriate to implement this Order.

                    17.    This Court shall retain jurisdiction with respect to all matters arising from or

             related to the implementation or interpretation of this Order.

                    Dated this ____ day of ___________, 2017.



                                                           _______________________________________
                                                           UNITED STATES BANKRUPTCY JUDGE




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